       Case: 1:22-cv-00289-JPH Doc #: 7 Filed: 12/14/22 Page: 1 of 2 PAGEID #: 60




                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

BRYAN KIMUTIS,                                :      Case No. 1:22-cv-289
                                              :
        Plaintiff,                            :      Judge Douglas R. Cole
                                              :
-vs-                                          :
                                              :      STIPULATION OF PARTIAL
                                              :      DISMISSAL (COUNT VI ONLY)
CITY OF CINCINNATI, et al.,                   :
                                              :
        Defendants.                           :

        The Plaintiff Bryan Kimutis, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii),

upon stipulation of the Defendants, City of Cincinnati, Michael Roetting, Molly Shust, and Kurtis

Latham, hereby voluntarily dismisses Count VI [Request for Writ of Mandamus under Ohio Open

Records Act, RC 149.43(C)(1)(b)], without prejudice.

        This stipulation provides for partial dismissal only. Additional claims still remain pending

between the parties to this action, and therefore this stipulation of dismissal does not terminate

the instant case.

Respectfully submitted,

/s/ J. Robert Linneman___
J. Robert Linneman (0073846)
H. Louis Sirkin (0024573)
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      Case: 1:22-cv-00289-JPH Doc #: 7 Filed: 12/14/22 Page: 2 of 2 PAGEID #: 61




EMILY SMART WOERNER (0089349)
CITY SOLICITOR

/s/ Katherine C. Baron__      __                         /s/ Kimberly A. Rutowski___
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Trial Counsel for the City Defendants


                                    CERTIFICATE OF SERVICE

           I certify that a true and accurate copy of the foregoing was filed electronically on December

14, 2022. Notice of this filing will be sent to all parties by operation of the Court’s electronic

filing system. Parties may access this filing through the Court’s system.

                                                 /s/ J. Robert Linneman
                                                 J. Robert Linneman (0073846)
                                                 Attorney for Plaintiff



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